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                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                                                                                       August 08, 2024
                           UNITED STATES DISTRICT COURT
                                                                                      Nathan Ochsner, Clerk
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION


OFFICE OF THE UNITED STATES                     §
TRUSTEE FOR REGION 7,                           §
                                                §
        Movant,                                 §
                                                §
VS.                                             §   CIVIL ACTION NO. 4:23-CV-4787
                                                §
JACKSON WALKER L.L.P.,                          §
                                                §
        Respondent.

                                            ORDER

       The Order transferring the above-styled case to the docket of the Honorable Alia Moses,

Chief United States District Judge for the Western District of Texas [Dkt. No. 18] is hereby

VACATED. The Court did not intend to remove the case from the Southern District of Texas.

A clarifying order will be entered.

        SO ORDERED August 8, 2024, at McAllen, Texas.


                                                      ______________________________
                                                      Randy Crane
                                                      Chief United States District Judge




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